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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                   PADUCAH DIVISION
                          CRIMINAL ACTION NO.: 5:19-CR-00060-TBR

UNITED STATES OF AMERICA,                                                             PLAINTIFF

v.

CREADELL HUBBARD,                                                                   DEFENDANT

                              MEMORANDUM OPINION & ORDER

           This opinion and order addresses defendant Creadell Hubbard’s pro se motion contesting

the court’s jurisdiction. (DN 30). For the reasons that follow, the motion is DENIED.

     I.    Background and Procedural History

           Creadell Hubbard is before the Court in this case (5:19-cr-00060-TBR) on a charge of

escape from federal custody. At the time he escaped custody, Hubbard was detained in federal

custody at the Christian County Jail pursuant to a separate case also before this Court (5:19-cr-

00045-TBR) in which Hubbard is charged with felon in possession of a firearm and possession of

body armor by a violent felon. At the time the United States initiated charges against Hubbard in

that underlying case, Hubbard was already detained in the Christian County Jail on state charges.

Thus, Hubbard was brought into federal court on a writ of habeas corpus ad prosequendum. The

following timeline of relevant events may be helpful:

  •       August 13, 2019—Hubbard is detained at the Christian County Jail on state charges

  •       August 13, 2019—The United States files an indictment charging Hubbard with two counts

          of Felon in Possession of a Firearm and one Count of Possession of Body Armor by a Violent

          Felon (5:19-cr-00045-TBR, DN 1)




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 •     August 13, 2019—The United States files a Petition for Writ of Habeas Corpus Ad

       Prosequendum (5:19-cr-00045-TBR, DN 4)

 •     August 14, 2019—Magistrate Judge King issues a Writ of Habeas Corpus Ad Prosequendum

       directing the U.S. Marshals Service and the Jailer of the Christian County Jail to produce

       Hubbard before this Court (5:19-cr-00045-TBR, DN 7)

 •     October 23, 2019—Deputy United States Marshal Eric Waterhouse files a criminal

       complaint attesting that defendant Creadell Hubbard escaped while detained at the Christian

       County Jail during the night of October 21, 2019 (5:19-cr-00060-TBR, DN 1)

 •     November 11, 2019—The United States files an indictment charging Hubbard with one

       count of Escape from Custody pursuant to 18 U.S.C. § 751(a) (5:19-cr-00060-TBR, DN 10)

 II.    Hubbard’s Motion

        Although Hubbard’s motion also addresses interest in a plea deal, the motion principally

concerns the Court’s jurisdiction. Hubbard’s argument regarding jurisdiction begins as follows:

        I would like to contest the government’s Jurisdiction under 18 U.S.C. Section 751(a). Mr.
        Hubbard will show that he was not in federal custody pursuant to the Doctrine of Primary
        Jurisdiction. The Supreme Court in Ponzi v. Fessenden, 258 U.S. 254, 262 (1922), when
        state has primary jurisdiction over prisoner, federal custody does not begin until the state
        officials relinquished custody of him.

(5:19-cr-00060-TBR, DN 30 at 3). Hubbard goes on to argue that the sovereign to first arrest an

individual has primary jurisdiction, control, and custody over that individual, taking priority over

other any other sovereigns that subsequently arrest him or sentence him “unless and until it has

relinquished its jurisdiction to some other sovereign.” Id. at 3-4. Hubbard claims that the

Commonwealth of Kentucky and the Christian Circuit Court never relinquished jurisdiction over

Hubbard. Specifically, Hubbard states:

        [D]ocuments and Records before this Court does not Reflect that the Commonwealth of
        Kentucky, and the Christian Circuit Court Relinquished its primary jurisdiction when Mr.

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        Hubbard was brought to federal court . . . In addition, when Mr. Hubbard escaped from
        custody, he was in the custody of the Christian County Sherriff Department, who service
        is the Christian County Jailers of the Commonwealth of Kentucky.

Id. at 4-5. As discussed further below, Hubbard’s jurisdictional challenge fails. Even if the state

maintained primary jurisdiction, federal authorities legitimately had custody of Hubbard under the

writ of habeas corpus ad prosequendum such that charging Hubbard with escape from federal

custody under 18 U.S.C. § 751(a) was proper.

III.    Legal Standards

        “A writ of habeas corpus ad prosequendum is the correct way to bring a prisoner under

incarceration by state or federal courts to trial for alleged violations of laws.” Rose v. United States,

365 F.Supp. 841, 843 (N.D. Ill. 1973) (citations omitted). “A federal writ of habeas corpus ad

prosequendum is a court order directing the production of a prisoner to stand trial in federal court.”

Ridgeway v. United States, 558 F.2d 357, 361 (6th Cir. 1977). The status of jurisdiction and

custody once a writ of habeas corpus ad prosequendum is issued can be described thus:

        The first jurisdiction to take physical custody of a suspected criminal has ‘primary
        jurisdiction’ over the suspect, which allows that jurisdiction to try, sentence, and punish
        the defendant before any other. Other jurisdictions may subsequently exercise ‘secondary
        jurisdiction’ by bringing charges against the same defendant for the same conduct . . .
        When exercising secondary jurisdiction, a writ ad prosequendum allows federal and state
        prosecutors to obtain temporary custody of a prisoner incarcerated in another jurisdiction.

Evan M. O’Roark, Note, Saying “No” After Pleau: Exploring the Conflict Between the Interstate

Agreement on Detainers Act and the Federal Writ Ad Prosequendum, 47 Suffolk U. L. Rev. 189,

191 (2014).

        “The fact that another sovereign might obtain physical custody of the defendant through a

writ of habeas corpus ad prosequendum does not deprive the original sovereign of jurisdiction.”

Bruette v. Warden, FCI-Sandstone, No. 19-cv-3136, 2020 WL 3420808, at *2 (D. Minn. May

26, 2020). “[W]hen a state has primary jurisdiction over a prisoner, federal custody does not

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begin until the state prison officials relinquish custody upon satisfaction of the state sentence . . .

The fact that [a defendant is] in federal custody pursuant to writ of habeas corpus ad

prosequendum does not divest the Commonwealth of Kentucky of primary jurisdiction over

him.” United States v. Lacy, NO. 3:13-CR-00163-GNS, 2017 WL 2743404, at *3 (W.D. Ky.

June 26, 2017) (citations omitted).

       A defendant in federal custody at a state facility pursuant to a writ of habeas corpus ad

prosequendum is usually not considered to be in federal custody for the purposes of calculating

the time served on a federal sentence ultimately imposed. Wahid v. Williams, No. 19-3851, 2020

WL 5412791, at *2 (6th Cir. Aug. 13, 2020). However, a defendant in federal custody pursuant

to a writ of habeas corpus ad prosequendum is in federal custody for the purposes of 18 U.S.C. §

751, even when incarcerated in a state facility, because the federal court exercises secondary

jurisdiction pursuant to the writ of habeas corpus ad prosequendum. United States v. Brown, 875

F.3d 1235, 1239 (9th Cir. 2017) (citing United States v. Hobson, 519 F.2d 765, 771 (9th Cir.

1975)) (“[A] federal prisoner housed in a designated state facility remains in federal custody as a

matter of law.”). The apparent distinction is whether the defendant is in the custody of the U.S.

Marshals Service or the Bureau of Prisons. Stated differently, if the defendant is in the custody of

the U.S. Marshals Service at a state facility, he can be charged with escape from federal custody,

but he usually cannot include the time that he is in custody of the U.S. Marshals Service in

calculating the time served on his federal sentence, because the original sovereign (the state

government) still has primary jurisdiction over custody for sentencing calculations. Brown, 875

F.3d at 1239; Lacy, 2017 WL 2743404, at *3. Generally, only when the defendant comes under

the control of the Bureau of Prisons does the defendant come into federal custody for purposes of

time served on a federal sentence.



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IV.    Discussion

       Hubbard argues that the state did not relinquish its jurisdiction over him, so the federal

authorities did not have jurisdiction over him either (1) when he was originally brought into federal

court or (2) when he was recaptured and charged following his escape from the Christian County

Jail. (5:19-cr-00060-TBR, DN 30 at 4-5). Hubbard’s argument fails. In both instances, the federal

government had custody of Hubbard pursuant to the writ of habeas corpus ad prosequendum. The

Marshals Service assumed custody of Hubbard from the time of the writ’s issuance, and it

maintains custody of Hubbard now, even though he is detained at the Christian County Jail. Both

when the writ was originally issued and complied with, and when Hubbard escaped, Hubbard was

in federal custody under the federal court’s secondary jurisdiction authority, even if the state

maintained primary jurisdiction. Therefore, while Hubbard is correct in stating that the state

maintained primary jurisdiction over him when he was brought into federal court and when he

escaped, Hubbard was in federal custody under the writ of habeas corpus ad prosequendum, and

thus, properly charged under 18 U.S.C. § 751(a) for escape from federal custody. The state did not

have to completely relinquish its jurisdiction over Hubbard for him to properly come before this

Court for prosecution or to properly come into the custody of the U.S. Marshals Service.

 V.    Conclusion

       Pursuant to the facts and law detailed above, Hubbard’s motion contesting the court’s

jurisdiction (5:19-cr-00060-TBR, DN 30) is DENIED.




cc: counsel                                                            November 6, 2020




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